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 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8                                         )   No. CR-18-00422-PHX-SPL
     United States of America,
 9                                         )
                                           )
                     Plaintiff,            )
10                                         )
     vs.                                       ORDER
11                                         )
                                           )
     Michael Lacey, et al.,                )
12                                         )
13                   Defendants.           )
                                           )
14                                         )

15         Upon the motion of the United States, and good cause showing,
16         IT IS HEREBY ORDERED granting the United States’ Motion to Transfer
17   Cases (Doc. 164).
18         IT IS FURTHER ORDERED that United States v. Carl Ferrer, No. CR-18-
19   00464-PHX-DJH-(JZB), will hereafter be assigned to this Court and captioned as United
20   States v. Carl Ferrer, No. CR-18-00464-PHX-SPL-(BSB).
21         IT IS FURTHER ORDERED that United States v. Backpage.com, LLC et al.,
22   No. CR 18-465-PHX-DJH-(JZB), will hereafter be assigned to this Court and captioned
23   as United States v. Backpage.com, LLC et al., No. CR-18-00465-PHX-SPL-(BSB).
24         IT IS FURTHER ORDERED directing the Clerk’s Office to file this order in all
25   three above-mentioned cases.
26   ...
27   ...
28   ...
          Case 2:18-cr-00464-SPL Document 24 Filed 05/31/18 Page 2 of 2




 1           The Court finds excludable delay under Title 18 U.S.C. § 3161(h)        from
 2   to            .
 3           Dated this 30th day of May, 2018.
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 5                                                    Honorable Steven P. Logan
                                                      United States District Judge
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